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                            UNITED STATES DISTRICT CO URT
                            SOUTHERN DISTRICT OF FLO RIDA
                      CASE NO.13-14047-CR-MARTINEZ/LYNCH(s)(s)(s)
  UNITED STATES O F AM ERICA,                                '

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         élaintiff,                                              FdLr
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         Defendant.

                      REPORT AND RECOM M ENDATIO N ON
                 APPROPRIATENESS O F CO UNSEL'S CJA VO UCHER
                  FOR ATTORNEY'S FEES WOUCHER #FLS 13-10381
         THIS CAUSE having com e on to be heard upon the aforem entioned CJA Voucher

  as referred bythe DistrictCourtand this Courthaving reviewed the voucherofM s.Golder,

  her letter of explanation attached thereto as well as the time records and other

  docum entation,and this Coud otherwise being advised in the prem ises recom m ends to

  the DistrictCoud as follows:
               The CJA Adm inistratorhasadjustedthe hoursand amountssetforthinthe
   CJA Vouchersubm itted by counselforthe Defendant. The Adm inistratorhas adjusted
  these to correctly reflectthetim e devoted to eachtaskandthe applicable hourly ratew hich

   varied during the tim e thatthe Defendantwas represented by M s.Golder.

         2.     Based upon these adjustments,the CJA Voucherseeks reim bursementof
   3.7 hoursofin-coud time totaling$431.00.The voucherseeks reimbursementofout-of-
   courttime of101.2 hours totaling $11,640.80. Therefore,the totalamountofattorney's
   fees soughtas adjusted by the CJA Administrator is $12,071.80 which exceeds the
   statutorycapof$9,800.00.ThisCoudnotesthattravelexpensesintheamountof$847.70
   together with copy/postage costs in the amount of $181.25 are also sought to be
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  reim bursed. This Courtfinds sufficientdocum entation to suppod Ms.G older's requests

  fortravel/mileage inthe amountof$847.70 and copy/postage in the amountof$181.25
  w hich should be awarded infull. Therefore,thisCoudwilladdressonlythe attorney's fees

  issues fudher.

         3.      This Coud has reviewed the CJA Vouchersubm itted by M s.Golderas well

  as the attached tim e records and herIetterofexplanation. Herletterasseds thatthe

  m atteris'dcom plex''and ''extended.''ln suppodthereof,M s.Golderassedsthattherewere

  m ultiple bank robberies involved in the case. There was volum inous discovery. There

  were also ''com plex Iegalissues''regarding the wording ofthe Indictm ents. This Court

   notes thatthere were no evidentiary hearings concerning the M otions to Dism iss. This

  Courtissued a Repod and Recom mendation on the finalAm ended M otion to Dism iss.

  This Court's Repod and Recom m endation recom m ending thatthe m otion be denied was

  adopted by the District Court. Finally,M s.Golder asserts that there were sentencing

   issues concerning the Defendant's priorcrim inalhistory w hich had to be addressed at

   sentencing.
         4.      This Court notes that M s. Golder w as appointed as CJA counsel on

   Novem ber6,2013 afterthe Defendant's initialappearance. Thereafter,there was an

   arraignm ent and Detention Hearing held on Novem ber8,2013. A subsequentThird

   Superseding lndictmentwas returned and the Defendantwas arraigned on Decem ber6,

   2013 in respectto thatIndictm ent.Thereafter,there were no courtappearances thatthis

   Coud could find. This Coud conducted aIIpretrialcourtproceedings. The case resulted
   in a change ofplea held before this Courton M arch 27,2014. The DistrictCoud adopted

   thisCoud's Repod and Recom m endation in thatregard and held a sentencing hearing on
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  July 14,2014 settingfodhthe sentence which canbefound in (D.E.#371).Asa resultof
  theforegoing,from thedate ofappointm entthrough sentencing,the case involved nom ore

  than eightm onths.
         5.     This is an adm inistrative decision as opposed to an adversarialproceeding

  asdelineated in United statesv,Gripgs,24o F.3d 974 (11thcir.2001).Additionall
                                                                              y,itis
  notnecessaryforthis Courtto conductan evidentiary hearing since this Coud conducted

  aIIof the pretrial proceedings including the Defendant's change of plea hearing as

  referenced above.

         6.     The attorney's fees sought by M s. Golder exceed the statutory cap of

  $9,800.00 as recently adjusted in 18 U.S.C.j3006A(d)(3). Therefore,this Courtmust
  determinewhetherthere issufficientjusti
                                        ficationtowaive orexceedthatstatutorycap.In
  doing so,this Courtm ustdeterm ine ifthe m atterwas 'dextended''or''com plex''as defined

   in the statute and the applicable case Iaw.
                This Coud has reviewed Ms.Golder's letterofexplanation. W hile the case
   was of a serious nature,itdoes not m eet the definition of being either ''com plex''or

   ''extended''as defined in the case law which this Coud m ustfollow . This Coud does not

   dispute thatthere m ay have been volum inous discovery in this case and some issues

   which had to be resolved atthe tim e ofsentencing. Nevedheless,those issues do not

   raise this case to the Ievelofbeing ''com plex''orl'extended.''

         8.     This Coud is guided by the definitions previously established concerning
   ''extended''and '
                   dcom plex.' An ''extended''case is one requiring m ore time than norm al

   undersim ilarfacts and circum stances.A ''com plex''case is defined as one involving facts

   so unusualastojustifythe expenditure ofmore time,skilland effod than a normalcase.
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  See Eason v.United States,2010 W L 5575741 (S.D.Fla.2010)and United States v.
  Moreira,2009 W L 362095 (S.D.Fla.2009).
         9.    This Coud cannot in good faith find this case to be either ''
                                                                           extended''or

  ''com plex.''The case proceeded in a norm alfashion,As referenced herein,there were no

  extensive hearings norevidentiaryissuesdecided bythis Coud northe DistrictCourt.The

  case was resolved by way ofentry ofguilty pleas by the Defendantpursuantto a written

  plea agreem ent. Therefore,this Court finds thatthis case does not qualify as either

  extended orcom plex as setfodh in the guidelines this Courtis required to follow.

         10.   ThisCourtappreciatesthe serviceswhichwere provided byM s.G older.This

  Coud m ustperform its function in reviewing CJA Vouchers and actas a gatekeeperto

  balance the entitlementofa defendantto com petentrepresentation and the ability ofthe

  coud appointed counselto be fully com pensated. However,this Courtm ustbalance the

  rightofcourtappointed counselto receive adequate com pensationforsuch representation

  to an indigentdefendant,such as in this case,with the understanding and realization that

  there are lim ited CJA funds available in this Districtand nationwide forpaym entofsuch

  services. Congress has reduced the am ountoffunds fordefenderservices nationw ide

  overthe pastseveralyears. This include: funds forthe FederalPublic Defender and

  available funds for the paym entof CJA counsel. This Court m ust m ake certain that

  defense counselis adequately com pensated,even i
                                                 fitis notfullcom pensation. Further,

  thisCoud m ustm ake cedainthatsuch am ountsexceeding the statutorycap as requested

   hereinare notpaid unlessthere issufficientjustificationunderthe applicablecase law and
  statutory fram ework which governs this Coud's review ofsuch m atters.



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         11.    lfthis Coud,and othercouds,did notprovide this gatekeeperfunction,the

  im pacton the availabilityofCJA funds to indigentdefendants in the future would be m uch

  m ore severe than itis underthe presentbudgetary constraints.

         12.    In reducing the amount sought by M s. G older to the statutory cap of

  $9,800.00 plustraveland otherexpenses,this Coud is notquestioning in anyway the
  tasks perform ed northe time devoted to those tasks. This Coud is required to m erely

  m ake a determ ination thatunderthe statutory frameworkand definitionswhich this Court

   is required to follow ,thatthis case does notm eetthe defini
                                                              tionsofeitherbeing ''extended'
                                                                                           '

   nor'com plex.'' By doing this,this Coud is hoping to m ake certain thatin the future there

  w illbe funds available forotherindigentdefendants who have notyetbeen arrested or

   charged.ln otherwords,couds cannotdeplete aIIofthe defenderservices aswe go along

   and then tryto figure outa wayto com pensate counselforthose otherindigentdefendants

   in the future who w illalso need courtappointed counsel.
          13.   Asa resul
                        tofthe foregoing findings,Ms.Golder's recoveryofattorney'sfees

   isIimitedto the statutorycapof$9,800.00 plustravelexpenses inthe amountof$847.70
   and otherexpenses inthe amountof$181.25,fora totalsum of$10,828.95.
         ACCO RDING LY,thisCourtrecom mendsto the DistrictCoudthatthe ClA voucher

   #FLS 13-1038 be G RANTED insofaras M s.Golderbe awarded the statutory m axim um

   of$9,800.00asreasonableattorney'sfeestogetherwi
                                                 thtravelexpenses inthe amountof
   $847.70 and otherexpenses in the amountof$181.25,fora totalsum of$10,828.95.
          The padies shall have foudeen (14) days from the date of this Report and
   Recommendation within which to file objections,ifany,with the Honorable Jose E.
   M artinez,the United States DistrictJudge assigned to this case. Pursuantto Federal

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  RulesofCriminalProcedure,Rule59(b)(2),failuretofileobjectionstimelywaivesapady's
  rightto review and bars the padies from attacking on appealany legalrulings and factual

  findings contained herein.

         DONEANDSUBMITTEothi
                           s4                   dayofseptember,2014,atFortpi
                                                                           erce,
   Nodhern Division ofthe Southern DistrictofFlorida.




                                            A      .    CH,JR.
                                         U TED STATES MAG ISTRATE JUDG E


   C opiesfurnished:
   ,

   Hon.Jose E.M adinez
   Randee J.G older,Esq.
   Lucy Lara,CJA Adm inistrator
